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C RYSTAL VL RIVERS                                                             JUL C. 'LEY GL RK
   Plaintiff                                                                  BY:



GARY M BOW MAN,V@B #28866
UNITED STATES O F AM ERICA
FEDERAL BUREAU O F INVESTI  GATIO NS
                           :'
VIRGINIA >TATE POLICE                               CivilNo6:18-CV-061
BEDFO RD CO UNTY VIRG INIA
CAM PBELL CO UNTY
CITY O F LYNCHBURG V IRG INIA
KAREN DEER
MARYLO U PRILLIMAN
BILL TALBOU
KEVIN HARTH
VIRG INIA BANKERS ASSO CIATIO N
VIRG INIA STATE CO RPO RATIO N CO M M ISSIO N
JAM ES DIM ITR I
               m CO M M ISSIO NER RETIRED
JUD ITH W ILLIAM S JAG DMANN,CO M M ISSIO NER
MARK C.CHRISTIEUCO M M ISSIO NER
BUREAU OF FINANCIALINSTITUTION: - SCC
E.JOSEPH FACESJRJ COM M ISSIONER
                  .
BA NK OF THE JAM ES FINANC IAL G RO UP INC.
alWa BANK O F THE JAM ES
ROBERT R.CHA PMAN III
SELCCT BANK FINANCIAL CORP
SELECT BANK
J.M ICHAEL THOMAS
T.CLAY DAVIS
T.SCOTT GA RREU ,M .D.
ROBERT T BEACH
O LD DO M INIO N NATIO NAL BANK
MARK M ERRILL
CHARLES DARNELL
MARYLOU HO PKINS
KELLY POU ER
DAVID FRANZEN
UNIO N BANKSHAR ES CO RPO RATION
UNION BANKAND TRUST,sucçessorofandformerlyStellaroneBani,
form erly Planters Bank& TrustCom pany ofVirginia
STEPHEN J.EAG ER
ADVANTAGE TITLEAND CLUSING LLC
JENNIFER YICHARDSON
M ATT FARISS
SHANA BECK LESTER
RALPH H BECK
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 Case 6:18-cv-00061-EKD Document 8 Filed 09/17/18 Page 1 of 4 Pageid#: 345
S & R FARM LLC
BBOYZ LLC
SERENITY ACRES FARM LLC
TRUSTEES IN LIQ UIDATION OF S&R FARM LLC
LIBERTY UNIVERSITY lNC
I
-AURA J.W ALLACE
NO RTHW OO D MANAG EM ENT G RO UP,lNC a/k/a NO RTHW OO D G RO UP INC .
W ILLIAM L W A LLIS JR
FABYIKO ACQUISITION CORPOM TION a/k/aFABRIKO INC.alèlaFABRIKO
RO BERT NITTI
SETH TW ERY,VSB # 20031
LISA SCHENKEL,VSB #21521
SHERW O O D DAY,VSB #15128
FRANK W .MO RRISO N ,VSB #07549
STEVEN R.G RANTnVSB #27178
EUSTICE - M ERC HANT FO R D ,INC.W W a BAU LEFIELD FO RD
NO RTHCREEK INC. NO RTH CREEK CO NSTRUCTIO N
DAVID EDM UNDSON
KELLY EDM UNDSO N
HENRY BECK
HELGA BECK
SERENE CREEK RUN ASSOC IATIO N
 TRAV IS BAKER
JENNIFER BAKER
M ICHAEL FRIEDM AN
LO REN FRIEDM AN
RICHARD ROQERS
BZTH ROGERS
M AU HEW KRYCINSKI
SARAH KRYCINSKI
M ICHAEL BRADBURY
HOW ARD FREAR
BARBARA FREAR
W ILLIAM FLMKER
M ICHELLE FLUKER
M ARG IE CALLAHAN
STATE FARM M UTUA L AUTO MO BIEL INSURANC E COM PANY
EQUINE INSURANCE SPECIALISTS,LLC
TED CO UNTS REALTY G RO UP AND AUCTIO N CO lNC
AMERICAN NATIONALBANK AND TRUST COMPANY
AM ERICAN NATIO NAL BA NKSHA RES INC
CLqMENT & WHEATLEY A PROFESSIONALCORPORATION
                     Defendants




MO TION TO PERM IT PRO SE PLAINTIFF TO FILE PLEADINGS ELECTRO NICALLY

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 Case 6:18-cv-00061-EKD Document 8 Filed 09/17/18 Page 2 of 4 Pageid#: 346
                                        ff, CrystalVL Rivers, Pro Se, requests the Courtgrant her
                     COM ES NOW , Plainti

              perm ission to allow herto file aIIpleadings electronically in this Court's CM/ECF systêm ;

              Pursuantto Rule 5.1(d)(3)and Rule 7.

               1. Rivers filed hercom plainton M ay 25,2018

              2.Rivqrs is nota Iicensed attorney and does nothave electroniç access to this Court's

              CM/ECF system

              3.Rivers is a paralegaland is a m em berofPACER with access to public courtrecords-

              only.

                     W HEREFORE'
                               ,the Plaintiff,CrystalVL Rivers prays the CourtgrantherM otion and

              issue a Iogin and a paqsword to herto file aIIpleadings electronically in this Court's

              CM/ECF system'
                           ,Pursuantto Rule 5.1(d)(3)and Rule 7.


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              Lynchburg VA 24501
              434-818-2121
              riversnaralenalsew icesa cm ail.com




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                   Case 6:18-cv-00061-EKD Document 8 Filed 09/17/18 Page 3 of 4 Pageid#: 347
                                                         CERTIFICATE O F SERV IC E

                       I herqby cedify tiat on September 17, 2018, Ifiled the foregoing
              docum ent with the Coùd. The com plaipt has not been served on any

               DefendAnt.
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             Lynchburg,VA 24501
             434-818-2921
              riversparalegalsewices@ gmail.com




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